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                                            THE CITY OF NEW YORK
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                                                                         November 6, 2020

        BY ECF
        Honorable Paul A. Englemayer
        United States District Judge
        Southern District of New York
        Thurgood Marshall United States Courthouse
        40 Foley Square
        New York, NY 10007

                       Re:    Antoine Ross v. Captain Dion Willis, et al.,
                              16 Civ. 6704 (PAE) (KNF)
        Your Honor:

                       I am a Senior Counsel in the office of James E. Johnson, Corporation Counsel of
        the City of New York, and attorney for Department of Correction Officers Sadoc Genoves and
        Rochuard George and third-party defendant the City of New York (“Defendants”) in the above-
        referenced action. I write to request an adjournment of the pre-motion conference currently
        scheduled for November 13, 2020 at 10:30 a.m. This is Defendants’ first request for an
        adjournment of the pre-motion conference. Counsel for Plaintiff and counsel for defendant Dion
        Willis consent to this request.
                        Due to the City’s fiscal challenges engendered by the COVID-19 global
        pandemic, I will be on mandatory furlough on November 13 and, therefore, am unable to appear
        for the conference on that date. Should the Court grant the instant request, the parties are
        available to attend a conference on November 16 (afternoon only), November 23, and November
        24 (morning only). Defendants thank the Court for its attention to this request.


                                                                    Sincerely,

                                                                              Joshua A. Weiner
                                                                    Joshua A. Weiner
                                                                    Senior Counsel
        cc:      All Counsel (VIA ECF)
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Granted. The pre-motion conference presently
scheduled for November 13, 2020 at 10:30 a.m. is
rescheduled for November 23, 2020 at 3:00 p.m.

SO ORDERED.
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            __________________________________
                  PAUL A. ENGELMAYER
                  United States District Judge

November 6, 2020
